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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF WYOMING

RIA R SQUARED, INC.,                                     )
a Delaware corporation,                                  )
                                                         )
        Plaintiff,                                       )
                                                         )
        v.                                               )       Case No. 21-CV-125
                                                         )
PAUL D. MCCOWN, AND                                      )
MCCOWN ENTERPRISES, LLC,                                 )
a Wyoming Limited Liability Company                      )
                                                         )
        Defendants.                                      )


                     NOTICE OF PARTIAL SATISFACTION OF JUDGMENT


        Plaintiff, through undersigned counsel, hereby notifies the Court that the judgment entered in

this matter, pursuant to Doc. 78 – Partial Final Judgment on Fraud Claim, has been partially satisfied. To

date, Plaintiff has received payments totaling $13,661,186.06.
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       Respectfully submitted this 1st day of November, 2022.

                                            RIA R SQUARED, INC.,
                                            a Delaware corporation,

                                                           Plaintiff .

                                            By:     /s/: Ryan L. Ford
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                                 CERTIFICATE OF SERVICE


       The undersigned does hereby certify that a true and correct copy of the foregoing pleading
was served upon counsel of record via the ECF/CM Filing System (or otherwise as indicated below).


              Jason Tangeman                           [ X] Electronic Delivery ECF/CM
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                                            By:     /s/: Ryan L. Ford




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